
291 S.W.3d 377 (2009)
Anthony G. MOORE, Movant/Appellant,
v.
STATE of Missouri, Respondent.
No. ED 2310.
Missouri Court of Appeals, Eastern District, Division Three.
September 1, 2009.
Lisa M. Stroup, St. Louis, MO, for Appellant.
Chris Koster, Attorney General, Richard A. Starnes, Assistant Attorney General, Jefferson City, MO, for respondent.
Before GLENN A. NORTON, P.J., and MARY K. HOFF, J. and LAWRENCE E. MOONEY, J.
Prior report: 241 S.W.3d 422.

ORDER
PER CURIAM.
Anthony Moore (Movant) appeals from the motion court's Findings of Fact, Conclusions of Law, and Order (judgment) denying his Amended Motion to Vacate, Set Aside, or Correct the Judgment or Sentence and Request for Evidentiary Hearing (PCR Motion), filed pursuant to Rule 29.15, on his convictions for burglary, stealing, resisting arrest, attempted rape, and forcible sodomy.
We have reviewed the briefs of the parties, the legal file, and the record on appeal, and find the claims of error to be without merit. The judgment of the motion court is based on findings of fact that are not clearly erroneous. Rule 84.16(b)(2); Rule 29.15(k). No error of law appears. An extended opinion would have no precedential value. We affirm the judgment pursuant to Rule 84.16(b). The parties have been furnished a memorandum for their information only, setting forth the reasons for the order affirming the judgment pursuant to Rule 84.16(b).
